                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION
                        3:21-cv-00171-RJC-WCM

ELECTROLYSIS PREVENTION                      )
SOLUTIONS LLC,                               )
                                             )
                    Plaintiff,               )                  ORDER
                                             )
v.                                           )
                                             )
DAIMLER TRUCKS NORTH                         )
AMERICA LLC,                                 )
                                             )
                    Defendant.               )
                                             )

        This matter is before the Court on the parties’ Joint Motion to Enter Pre-

Trial Scheduling Order (the “Motion,” Doc. 245). The Motion will be allowed.

        IT IS THEREFORE ORDERED that the Motion (Doc. 245) is

GRANTED, and this matter shall proceed with the following deadlines:


       Date                      Deadline
     2/13/2025     Parties to exchange pretrial disclosures (exhibit lists, witness
                   lists, proposed voir dire questions). Party with burden of
                   proof to serve deposition designations.
     2/27/2025     Parties to exchange proposed jury instructions and objections
                   to pretrial disclosures. Parties to serve objections to
                   deposition designations and rebuttal deposition designations.
     3/13/2025     Parties to file motions in limine. Parties to serve objections to
                   rebuttal deposition designations. Parties to file trial briefs.




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3/27/2025   Parties to file oppositions to motions in limine; parties to file
            joint pretrial order (including exhibit lists, proposed jury
            instructions, witness lists, proposed voir dire questions, and
            deposition designations).
TBD         Final Pretrial Conference
5/12/2025   Jury Trial


                                Signed: December 16, 2024




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